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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

ELIZABETH THORNHILL                                                              PLAINTIFF

v.                             CASE NO. 4:10cv01644 BSM

NATIONAL ASSET
RECOVERY SERVICES, INC.                                                       DEFENDANT

                                 ORDER OF DISMISSAL

       Plaintiff Elizabeth Thornhill (“Thornhill”) requests that this case be dismissed without

prejudice due to settlement. [Doc. No. 3]. For good cause shown, the motion is granted.

This case is dismissed without prejudice, without costs to either party, and with leave for

Thornhill to seek reinstatement within forty-five (45) days from the date of entry of this

order. If this case has not been reinstated within forty-five (45) days from the date of entry

of this order, or a motion for reinstatement has not been filed by said date, then the dismissal

of this case shall automatically convert from a dismissal without prejudice to a dismissal with

prejudice.

       IT IS SO ORDERED this 6th day of January, 2011.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
